                      Case 4:09-cr-00090-SWW                     Document 67             Filed 07/07/10          Page 1 of 6
AD 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT                                                      JUL - 7 lUW
                                                           Eastern District of Arkansas           JAMES                     ERK
                                                                         )                        BY:_~~oL.Il..L~~~l-:-=,....,.
              UNITED STATES OF AMERICA                                   )     JUDGMENT IN A CRIMINAL CASE                  LERK
                                  v.                                     )
                                                                         )
                                                                               Case Number:     4:09CR00090-001 sww
                                                                         )
                 JEREMY DUREL BOGARD                                     )     USMNumber:       25477-009
                                                                         )
                                                                         )     Danny w. Glover (appointed)
                                                                                   Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended                Count
18 U.S.c. § 371                  Conspiracy to commit access device fraud, a Class D Felony                    07/16/2008                     1




       The defendant is sentenced as provided in pages 2 through            _---=-6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
X Count(s)      2-4
               -------------
                                                          0 is     X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until. all fines, restitution,. costs, and special assessme~ts imposed ~y this judgme!lt are fully paid. If ordered to pay restitution,
the defenClant must notify the court and Umted States attorney of matenal changes In economtc Clfcumstances.                                             .

                                                                            June 29, 2010
                                                                            Date of Imposition of Judgment




                                                                            Susan Webber Wright, U. S. District Judge
                                                                            Name and Title of Judge


                                                                                            7- '1, .:20 10
                                                                            Date
                      Case 4:09-cr-00090-SWW                    Document 67               Filed 07/07/10                     Page 2 of 6
AO 2458     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                                    Judgment -      Page _-=2_ of                         6
DEFENDANT:                     JEREMY DUREL BOGARD
CASE NUMBER:                   4:09CROOO90-001 SWW


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


TWELVE (12) MONTHS AND ONE (1) DAY.


     X The court makes the following recommendations to the Bureau of Prisons:
       IF DEFENDANT IS ELIGIBLEAND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant
          be incarcerated in FCI Forrest City, Arkansas; that defendant participate in residential substance abuse treatment; and
          educational and vocational programs during incarceration.


     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                       D a.m.     D p.m.        on

          D as notified by the United States Marshal.

     X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          X before 2 p.m. on            Monday, August 9, 2010             . DEFENDANT ELIGIBLE TO SELF-REPORT.

          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                                 to

 a                                                    , with a certified copy of this judgment.



                                                                                                                UNITED STATES MARSHAL



                                                                            By - - - - - - - - - - - - - - , - - , - - - - - - - - - , - - - c : : : - = - : : - c - : : - - - - - ­
                                                                                                          DEPUTY UNITED STATES MARSHAL
                        Case 4:09-cr-00090-SWW                  Document 67            Filed 07/07/10            Page 3 of 6

AO 2458       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _-,,-3_ of            6
DEFENDANT:                      JEREMY DUREL BOGARD
CASE NUMBER:                    4:09CR00090-001 SWW
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
THREE (3) YEARS.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
D        as direc.ted by the probatIon offi~er, the lJurea~ o.f Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a quahfymg offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled su!jstances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any l'ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,1?ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                  Case 4:09-cr-00090-SWW             Document 67         Filed 07/07/10       Page 4 of 6
AD 2458   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                           Judgment-Page _--,-4_ of       6
DEFENDANT:                JEREMY DUREL BOGARD
CASE NUMBER:              4:09CR00090-001 SWW

                                    ADDITIONAL SUPERVISED RELEASE TERMS

1. Defendant shall participate, under the guidance and supervision of the U. S. Probation Officer, in a substance abuse
treatment program which may include testmg, out-patient counseling, and/or residential treatment. Further, defendant shall
abstain from the use of alcohol throughout the course of any treatment.
2. Defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which defendant is associated. No new
lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties have been
satisfied.
3. Defendant shall not obtain employment at an institution insured by the FDIC or at a Federal Credit Union.
AD 245B
                    Case 4:09-cr-00090-SWW
          (Rev. 09/08) Judgment in a Criminal Case
                                                                  Document 67          Filed 07/07/10                                  Page 5 of 6
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                     Judgment - Page           5      of       6
DEFENDANT:                        JEREMY DUREL BOGARD
CASE NUMBER:                      4:09CROOO90-001
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                                                                                  Restitution
TOTALS           $ 100                                                $                                                        $ 79,507.71


D The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AD 245C) will be entered
    after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                 Total Loss·                        Restitution Ordered                                         Priority or Percentage
Citigroup Investigative Serv.                                                                       79,507.71
Attn: Mr. Terry Gearhart,
      Assistant Vice President
6460 Las Colinas Rd.
Irving, TX 75039




TOTALS                              $                                        $               -----'-7-'-'9,'-=-50=-:7....:..:.7'-=1_


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the               D fine    X restitution.
      D the interest requirement for the             D   fine    D restitution is modified as follows:


* Findings for the total amount oflosses are reguired under Chapters 109A, 110, 110A, and I13A of Title 18 for offenses committed on or after
Septemljer 13, 1994, but before April 23, 1996.
AO 2458              Case
           (Rev. 09/08)       4:09-cr-00090-SWW
                        Judgment in a Criminal Case            Document 67              Filed 07/07/10            Page 6 of 6
           Sheet 6 - Schedule of Payments

                                                                                                             Judgment - Page _-,,-6_ of                6
DEFENDANT:                 JEREMY DUREL BOGARD
CASE NUMBER:               4:09CR00090-()()1 SWW

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X    Lump sum payment of $ -100
                                  -----­                      due immediately, balance due

          D     not later than                                  , or
          X     in accordance         D C,        D D,        D E, or         D F below; or
B    D Payment to begin immediately (may be combined with                  D C,         D D, or       D F below); or
C    D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X    Special instructions regarding the payment of criminal monetary penalties:
          The restitution imposed is payable during incarceration and supervised release. During incarceration, defendant will
          pay 50% per month of all funds that are available to him. Dunng residential re-entry placement, payments will be
          reduced to 10% of defendant's gross monthly income. Beginning the first month of supervised release, payments
          will be 10% per month of defendant's monthly gross income.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cruninal monetary penalties, except those payments made througli the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
     Restitution shall be joint and several with any other person who has been or will be convicted on an offense for which
     restitution to the same victim on the same loss is oroered.



D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
